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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


UNITED STATES OF AMERICA,             )
                                      )
                    Plaintiff,        )
                                      )
              v.                      )        COMPLAINT
                                      )
PETER L. ELKIN,                       )
                                      )
                    Defendant.        )



      The United States of America, for its complaint, states

and alleges as follows:

      1.      Plaintiff, United States of America, is a sovereign,

and   defendant,       Peter   L.   Elkin,      is   a   resident   of    Olmsted

County, State and District of Minnesota, with the last known

address of XXXX XXX XXXXXX XXXX, Rochester, Minnesota 55902.

      2.      This Court has jurisdiction over this action pursuant

to 28 U.S.C. § 1345.

      3.      Defendant    executed       a   promissory    note    for   a   HEAL

Relief      Account    consolidation          loan   from   the   Student     Loan

Marketing Association, on August 6, 1997, in the amount of

$108,754.31.        The loan was re-insured by the United States of

America, through the United States Department of Health and

Human Services.          A copy of the promissory note is attached
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hereto as Exhibit A.

    4.      The   HEAL     loan,   evidenced        by   the   promissory    note

attached    hereto    as      Exhibit   A,    was    provided    to   defendant

pursuant to Section 701-720 of the Public Health Service Act,

42 U.S.C. § 292f-p.

    5.      Defendant defaulted on the terms and conditions of

the promissory note.

    6.      Demand was made, but the default was not cured.

    7.      The United States of America, through the United

States    Department     of    Health   and    Human      Services,   paid    the

Student Loan Marketing Association, pursuant to the terms of

the guarantee.       Thus, the United States obtained all rights

and title to the loan.

    8.      Interest continues to accrue on the unpaid balance

of the loan evidenced by Exhibit A at a variable rate of

interest, currently set at 4.75 percent per annum.                     See the

Certificate of Indebtedness, attached hereto as Exhibit B and

incorporated herein by this reference.

    WHEREFORE, the United States demands judgment against the

defendant in the sum of $164,966.59 principal, plus interest

to October 15, 2008, in the amount of $1,502.78, together with



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additional   prejudgment      interest,     postjudgment      interest,

attorney’s fees and costs as allowed by law and, pursuant to

28 U.S.C. § 2412, costs in the amount of $350.00.

Dated: December 18, 2008               FRANK J. MAGILL, JR.
                                       United States Attorney

                                       s/M. Trippler

                                       BY: MARY TRIPPLER
                                       Assistant U.S. Attorney
                                       Attorney I.D. No. 110887
                                       600 U.S. Courthouse
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Questions regarding this case should be directed to Cindy
Loken, Supv. Paralegal, at (612) 664-5637.




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